   Case 3:25-cv-02847-AMO   Document 37-15   Filed 04/04/25   Page 1 of 13




                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
                         SAN FRANCISCO DIVISION

                                      Case No. 3:25-cv-2847
COMMUNITY LEGAL SERVICES IN EAST      SUPPLEMENTAL DECLARATION OF
PALO ALTO, et al.,                    LAURA NALLY (AMICA CENTER) IN
              Plaintiffs,             SUPPORT OF PLAINTIFFS’ MOTION
                                      FOR A PRELIMINARY INJUNCTION
     v.

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

             Defendants.
    Case 3:25-cv-02847-AMO            Document 37-15        Filed 04/04/25      Page 2 of 13




          SUPPLEMENTAL DECLARATION OF LAURA NALLY,
 PROGRAM DIRECTOR FOR THE CHILDREN’S PROGRAM AT AMICA CENTER
FOR IMMIGRANT RIGHTS (FORMERLY CAPITAL AREA IMMIGRANTS’ RIGHTS
                       (“CAIR”) COALITION)

I, Laura Nally, make the following statements on behalf of myself and Amica Center for Immigrant
Rights. I certify under penalty of perjury that the following statement is true and correct pursuant
to 28 U.S.C. § 1746.
   1. I incorporate my Declaration in Support of Plaintiffs’ Motion for a Temporary Restraining
      Order and Preliminary Injunction (Dkt. 7-15) as if fully set forth herein.
   2. My name is Laura Nally, and I am the Program Director overseeing the Children’s Program
      at Amica Center for Immigrant Rights (“Amica Center”), formerly known as the Capital
      Area Immigrants’ Rights (“CAIR”) Coalition. Amica Center is a Washington, D.C.-based
      nonprofit legal services organization that strives to ensure equal justice for all indigent
      immigrant men, women, and children at risk of detention and deportation in the
      Washington, D.C. area and beyond by providing free legal services and representation. I
      am an attorney licensed in Virginia and the District of Columbia and have been practicing
      immigration law for more than 15 years. I joined the Children’s Program at Amica Center
      in August 2019.
   3. Since filing my prior Declaration, executed on March 25, 2025, in this case, Amica
      Center’s Children’s Program has continued to face operational challenges related to the
      Cancellation Order issued on March 21, 2025. While we have not yet issued any furloughs
      or laid off any staff members, we have been unable to fill an increasing number of
      vacancies due to concerns about the stability of our funding. Since February 18, when we
      suddenly received a Stop Work Order, until now, one Senior Paralegal, one IJC Attorney
      Fellow, and two Staff Attorneys have resigned their positions with the Children’s Program.
      The level of anxiety among staff has only increased as partner organizations issue furloughs
      and layoffs. We cannot responsibly hire new staff pending a resolution of the uncertainties
      surrounding continued funding for this work, and remaining attorneys are therefore faced
      with an increasingly difficult task of ensuring coverage for the legal needs of our more than
      850 clients.
   4. Amica Center is currently funding this work entirely using other funds and had made the
      analysis that it could only afford to continue to do so for an additional 2 months, at most,
      before it begins to materially limit our other mission-driven work, including representation
      for adults in Virginia who are at risk of detention and deportation. On April 4, 2025,
      however, Amica Center received communications indicating that the Department of Justice
      (DOJ) had terminated for convenience several other programs which currently fund Amica


                                                 1
 Case 3:25-cv-02847-AMO          Document 37-15         Filed 04/04/25     Page 3 of 13




   Center’s Detained Adult Program (DAP). Although the scope and impact of such a
   termination order is not yet clear, the intersectional impact of sudden cuts to funding in
   other programs considerably shortens the period of time for which Amica Center can use
   other funds to continue the Children’s Program. If HHS funding is not restored, we expect
   to downsize the Children’s Program considerably, retaining only a few experienced staff
   members to wind down and transition casework in the most ethical and client-centered way
   possible under the circumstances.
5. Children represented by the Children’s Program continue to have hearings and legal
   deadlines on a daily basis. Within the next month (April 3 to May 3, 2025), 48 of our child
   clients are scheduled to appear before an immigration court, a state court, or an asylum
   interview with USCIS. I was in court this morning seeking Special Immigrant Juvenile
   Status (SIJS) findings for an 11-year-old girl who was abandoned by her alcoholic father.
   The Children’s Program has a total of three asylum interviews scheduled in the month of
   April, all of which were scheduled in the past two weeks for children in ORR custody
   including a boy who fled extreme child abuse at the age of 12 and a girl who fears gender-
   based and religious persecution. In addition to the urgent deadlines to file legal briefing
   and supporting evidence in advance of their asylum interviews, it is critical for these
   children to have consistency in their representation and the support of the attorneys with
   whom they have spent months and years building trust and rapport to minimize re-
   traumatization.

6. We also continue to receive requests for unfunded assistance from ORR-subcontracted
   staff at the facilities we serve, particularly requests for confirmation that our staff will
   appear with children at their upcoming immigration court hearing, whether and how the
   children are required to appear, and assistance navigating the logistics of how to connect
   to virtual hearings via Webex. It is clear from the nature of the questions we receive that
   ORR has not issued clear guidance to subcontracted facility staff regarding which services
   were terminated on March 21 and which have been extended. It has largely fallen to our
   staff to explain the impact of the Cancellation Order on the services we provide at local
   ORR-subcontracted facilities.

7. It is important to consider the timing of several intersecting government actions; the
   Cancellation Order was issued on the same day that ORR notified its care providers that
   DHS would begin serving Notices to Appear (NTAs) “imminently” on children in ORR
   custody and that those Master Calendar Hearings were expected to take place “in the
   coming days and weeks.” In accordance with that policy, we have seen children
   increasingly scheduled on ‘rocket dockets’ where dozens of unrepresented children are set
   for mass hearings. The next large docket for children detained in ORR-subcontracted
   facilities we serve is scheduled for April 14 and currently includes 22 children. Notably,
   most of those hearings have been moved up within the past week from a docket which was


                                            2
 Case 3:25-cv-02847-AMO           Document 37-15        Filed 04/04/25      Page 4 of 13




   originally scheduled to take place on June 4, 2025. We learned of this change on April 1.
   In another example, four children who arrived at a local ORR-subcontracted facility the
   week of March 23, 2025, were scheduled for Master Calendar Hearings on April 10.

8. We know from communications with staff at two local ORR-subcontracted facilities that
   in place of funded representation or Friend of Court services at upcoming hearings, ICE
   has provided the facilities with EOIR’s List of Pro Bono Legal Service Providers. For the
   Annandale Immigration Court, where most of the children are scheduled to appear, this list
   does not represent a meaningful opportunity to obtain free counsel in our local area. The
   Annandale Immigration Court Juvenile Docket lists only four providers, one of which is
   Amica Center. Of these four providers, three—Kids in Need of Defense, Ayuda, and Amica
   Center—were providing pro bono representation through the HHS funding that has been
   terminated. The fourth—Restoration Immigration Legal Aid (RILA)— states explicitly
   that it does not accept cases for individuals in detention. To my knowledge, no children in
   the ORR-subcontracted facilities with which we work have successfully obtained pro bono
   representation since March 21. In a conversation with one of the URM ORR facilities with
   whom we work, program staff shared that their attempts to identify pro bono counsel for
   children who have arrived since March 21 have been largely unsuccessful; the few
   attorneys who expressed interest in volunteering had no previous immigration experience.
   The program asked Amica Center for information and guidance about how an attorney
   could begin learning about immigration law.

9. The recruitment, training, and mentorship of pro bono attorneys is an important part of our
   model for expanding the availability of legal services for unaccompanied children. In my
   current position at Amica Center and prior positions at partner organizations within the
   Acacia network, I have trained hundreds of pro bono attorneys at dozens of law firms and
   corporations to represent children in pro bono immigration matters. The contribution of the
   skills and resources of law firms, in particular, is invaluable to complex cases involving
   trials in immigration court and appeals. Funding for this work was one of the tasks that was
   eliminated by the Cancellation Order on March 21.

10. Across each of these pro bono partnerships, attorneys and their supervising partners make
    clear that they rely on expert training and mentorship from the placing organization to a)
    appropriately screen cases and identify them as appropriate for pro bono placement; b)
    provide a threshold level of training so that attorneys with little to no experience in
    immigration matters can navigate this complex area of practice; and c) engage in hands-on
    mentorship throughout the course of the case. For Amica Center, this involves holding an
    introductory call to discuss pro bono counsel’s questions before they meet with the clients,
    providing technical assistance by phone and email at all stages of the case, reviewing draft
    pleadings before submission, mooting for hearings or interviews, and often attending to



                                             3
 Case 3:25-cv-02847-AMO            Document 37-15         Filed 04/04/25      Page 5 of 13




   provide support, if requested by the pro bono team. This model fosters a relationship of
   mutual trust between the mentoring attorney and pro bono team with the goal of ensuring
   that clients receive high-quality representation. It also creates efficiencies for our
   government partners, as we provide the training and mentorship necessary for attorneys
   unfamiliar with local practice to interact efficiently and effectively with the state and
   immigration courts and other government agencies.

11. Pro bono attorneys often describe their work on our cases as some of the most rewarding
    that they’ve had the opportunity to do in their corporate jobs but emphasize that it would
    not be possible without a qualified mentor to ensure that they can competently practice in
    a field outside their own. This support and assurance will become even more important
    following the President’s Executive Order “Preventing Abuses of the Legal System and
    the Federal Court,” issued on March 22, which mentioned “Big Law pro bono practices”
    specifically in the context of an accusation that immigration attorneys and their pro bono
    partners “attempt to circumvent immigration policies.” In this climate of intimidation, it is
    particularly important that firms and the attorneys working on immigration matters have
    access to expert advice from experienced practitioners to ensure that they are providing
    competent and ethical representation.

12. Attached hereto as Exhibit 1 is a true and correct copy of the full email correspondence
    between the parties regarding compliance with the Temporary Restraining Order and
    administrative record, dated April 2, 2025 to April 3, 2025. On April 2, Plaintiffs emailed
    Defendants to inquire about Defendants’ plan to comply with the Temporary Restraining
    Order that went into effect earlier that morning and ask when Defendants expect to produce
    the administrative record. Ex. 1 at 2.

13. Later that day, Defendants responded that they “are in receipt of the Court’s order and are
    taking steps to comply expeditiously.” Id. at 2. Defendants’ response contained no detail
    regarding how or when they planned to comply. With regards to the administrative record,
    Defendants took the position that they have no obligation to provide the record until they
    file their answer and that they “intend to adhere to that timeframe here.” Id. at 2.

14. Plaintiffs replied the following morning, requesting Defendants “outline what has been
    done to ensure compliance” with the Court’s order, which had been in place for over 24
    hours at that point. Id. at 1. Plaintiffs also urged Defendants to produce the administrative
    record earlier, given that it is necessary to Plaintiffs’ request for Preliminary Injunction to
    inform our arbitrary and capricious claim. Id. at 1-2.

15. At the time of signing, Plaintiffs have not been informed of any actual steps taken by
    Defendants to comply with the Court’s Order.



                                              4
    Case 3:25-cv-02847-AMO            Document 37-15         Filed 04/04/25    Page 6 of 13




   16. Attached hereto as Exhibit 2 is a true and correct copy of the April 4, 2025, letter sent by
       the Department of Justice to the Acacia Center for Justice as referenced in paragraph 4.


I declare under penalty of perjury that the foregoing is true and correct.



Executed on the 4th of April 2025, in Alexandria, VA.


______________________________
Laura Nally
Director, Detained Children’s Program
Amica Center for Immigrant Rights
1025 Connecticut Ave. NW, Suite 701
Washington, D.C. 20036
P: (202) 916-8179
laura@amicacenter.org




                                                  5
Case 3:25-cv-02847-AMO   Document 37-15   Filed 04/04/25   Page 7 of 13




           Exhibit 1
Case 3:25-cv-02847-AMO   Document 37-15   Filed 04/04/25   Page 8 of 13
Case 3:25-cv-02847-AMO   Document 37-15   Filed 04/04/25   Page 9 of 13
Case 3:25-cv-02847-AMO   Document 37-15   Filed 04/04/25   Page 10 of 13
Case 3:25-cv-02847-AMO   Document 37-15   Filed 04/04/25   Page 11 of 13
Case 3:25-cv-02847-AMO   Document 37-15   Filed 04/04/25   Page 12 of 13




           Exhibit 2
    Case 3:25-cv-02847-AMO              Document 37-15            Filed 04/04/25      Page 13 of 13




VIA: Electronic Mail
                        NOTICE OF TERMINATION FOR CONVENIENCE

Date: April 3, 2025
Vendor Name: Acacia Center for Justice
Subject: Termination for Convenience

Dear Acacia Center for Justice,

This email’s purpose is to notify your firm the contracts tied to the procurement instrument identifications
(PIID) listed below and all subsequent call orders is hereby terminated for convenience effective April 3,
2025, per clause FAR 52.212-4(l) (Termination for the Government’s Convenience).

PIIDs:
 15JPSS22F00000699
 15JPSS22F00000701
 15JPSS22F00000700
 15JPSS22F00000702
 15JPSS22F00000703
 15JPSS22F00000704
 15JPSS24F00000418
 15JPSS23F00000154

The Agency has determined that the services are no longer needed. Effective April 3, 2025, please
discontinue providing the services to the United States Department of Justice and its entities.

Please submit your final invoice with any reasonable charges that result from this termination.

If you have any questions, please feel free to contact me.

Sincerely,


Allison J. Polizzi
Contracting Officer
U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, DC 20530

                Please acknowledge receipt of this Notice of Termination for Convenience

                                                (End of Notice)



                        950 Pennsylvania Avenue, NW          Washington, DC 20530
